                  Case 24-12480-LSS             Doc 899        Filed 02/03/25          Page 1 of 15




                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE


    In re:                                                     Chapter 11

    FRANCHISE GROUP, INC., et al., 1                           Case No. 24-12480 (LSS)

                                 Debtors.                      (Jointly Administered)



                                          AFFIDAVIT OF SERVICE

       I, Engels Medina, depose and say that I am employed by Kroll Restructuring
Administration LLC (“Kroll”), the claims and noticing agent for the Debtors in the above-
captioned chapter 11 cases.

        On January 23, 2025, at my direction and under my supervision, employees of Kroll caused
the following documents to be served by the method set forth on the Core/2002 Service List
attached hereto as Exhibit A:

     •       Notice of Supplement to List of Ordinary Course Professionals [Docket No. 824]

     •       First Supplemental Declaration of Eric W. Kaup in Support of Debtors’ Application for
             Entry of an Order (I) Authorizing the Retention and Employment of Hilco Real Estate,
             LLC as Real Estate Consultant and Advisor for the Debtors, Effective as of the Petition
             Date; (II) Waiving Certain Requirements Imposed by Local Rule 2016-2; and (III)
             Granting Related Relief [Docket No. 825]


1
  The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification numbers,
to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225), Freedom VCM
Interco Holdings, Inc. (2436), B. Riley Receivables II, LLC (4066), Freedom VCM Receivables, Inc. (0028), Freedom
VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC (0444), American Freight
FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group Intermediate Holdco, LLC (1587),
Franchise Group Intermediate L, LLC (9486), Franchise Group Newco Intermediate AF, LLC (8288), American
Freight Group, LLC (2066), American Freight Holdings, LLC (8271), American Freight, LLC (5940), American
Freight Management Company, LLC (1215), Franchise Group Intermediate S, LLC (5408), Franchise Group Newco
S, LLC (1814), American Freight Franchising, LLC (1353), Home and Appliance Outlet, LLC (n/a), American Freight
Outlet Stores, LLC (9573), American Freight Franchisor, LLC (2123), Franchise Group Intermediate B, LLC (7836),
Buddy’s Newco, LLC (5404), Buddy’s Franchising and Licensing, LLC (9968), Franchise Group Intermediate V,
LLC (5958), Franchise Group Newco V, LLC (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise
Group Newco BHF, LLC (4123); Valor Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin
Shoppe Global, LLC (1168), Vitamin Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC
(8021), Vitamin Shoppe Franchising, LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition,
LLC (0470), Franchise Group Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco,
LLC (6507), Pet Supplies “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW
Franchising , LLC (9398), WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP
Subco, LLC (6489), PSP Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group
Newco SL, LLC (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court,
Suite J, Delaware, Ohio 43015.
             Case 24-12480-LSS       Doc 899     Filed 02/03/25     Page 2 of 15




Dated: January 31, 2025
                                                                  /s/ Engels Medina
                                                                  Engels Medina
State of New York
County of New York

Subscribed and sworn (or affirmed) to me on January 31, 2025, by Engels Medina, proved to me
on the bases of satisfactory evidence to be the person who executed this affidavit.

/s/ OLEG BITMAN
Notary Public, State of New York
No. 01BI6339574
Qualified in New York County
Commission Expires April 4, 2028




                                             2
                                                                                      SRF 85513
Case 24-12480-LSS   Doc 899   Filed 02/03/25   Page 3 of 15




                       Exhibit A
                                                                                     Case 24-12480-LSS                          Doc 899                  Filed 02/03/25                    Page 4 of 15
                                                                                                                                              Exhibit A
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below

                                                    DESCRIPTION                                                         NAME                                               ADDRESS                                                 EMAIL             METHOD OF SERVICE

                                                                                                                                               Attn: Marty L. Brimmage, Jr.
                                                                                                                                               2300 N. Field Street
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     Suite 1800
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP          Dallas TX 75201                                                 mbrimmage@akingump.com        Email

                                                                                                                                               Attn: Michael S. Stamer, Brad M. Kahn, Avi E. Luf               mstamer@akingump.com
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     One Bryant Park                                                 bkahn@akingump.com
Committee of the Board of each of the Retaining Debtors                                            Akin Gump Strauss Hauer & Feld LLP          New York NY 10036                                               aluft@akingump.com            Email

                                                                                                                                               Attn: Michael D. DeBaecke
Counsel to Michael J. Wartell as the Independent Director and sole member of the Conflicts                                                     500 Delaware Avenue, 8th Floor
Committee of the Board of each of the Retaining Debtors                                            Ashby & Geddes, P.A.                        Wilmington DE 19801                                             mdebaecke@ashbygeddes.com     Email

                                                                                                                                               Attn: Matthew P. Austria
                                                                                                                                               1007 N. Orange Street, 4th Floor
Counsel for Dell Financial Services, L.L.C.                                                        Austria Legal, LLC                          Wilmington DE 19801                                             maustria@austriallc.com       Email

                                                                                                                                               Attn: Leslie C. Heilman, Laurel D. Roglen, Margaret A. Vesper
Counsel to Azalea Joint Venture, LLC, Brixmor Operating Partnership LP, Continental Realty                                                     919 North Market Street                                         heilmanl@ballardspahr.com
Corporation, Federal Realty OP LP, FR Grossmont, LLC, Prime/FRIT Mission Hills, LLC, and                                                       11th Floor                                                      roglenl@ballardspahr.com
ShopOne Centers REIT, Inc.                                                                         Ballard Spahr LLP                           Wilmington DE 19801                                             vesperm@ballardspahr.com      Email


Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Kevin M. Newman
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     Barclay Damon Tower
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         125 East Jefferson Street
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           Syracuse NY 13202                                               knewman@barclaydamon.com      Email


Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Niclas A. Ferland
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     545 Long Wharf Drive
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         Ninth Floor
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           New Haven CT 06511                                              nferland@barclaydamon.com     Email


Counsel to Benenson Capital Partners LLC, CRI New Albany Square, LLC, DLC Management                                                           Attn: Scott L. Fleischer
Corporation, Grove City Plaza, L.P., HV Center LLC, et al.2, Inland Commercial Real Estate                                                     1270 Avenue of the Americas
Services LLC, Kempner Properties, LLC, National Realty & Development Corp., Northridge                                                         Suite 501
Crossing L.P., SS Tulsa Center LLC, et al.3, Wheeler REIT,LP, and/or certain of their affiliates   Barclay Damon LLP                           New York NY 10020                                               sfleischer@barclaydamon.com   Email

                                                                                                                                               Attn: Kevin G. Collins
                                                                                                                                               222 Delaware Avenue, Suite 1200
Counsel to Drink LMNT, Inc.                                                                        Barnes & Thornburg LLP                      Wilmington DE 19801                                             kevin.collins@btlaw.com       Email

                                                                                                                                               Attn: Kevin G. Collins, Mark R. Owens
                                                                                                                                               222 Delaware Avenue, Suite 1200                                 kevin.collins@btlaw.com
Counsel to Elanco US Inc.                                                                            Barnes & Thornburg LLP                    Wilmington DE 19801                                             mark.owens@btlaw.com          Email
Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                        Attn: Ericka F. Johnson
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                           600 N. Market Street, Suite 400
Roseff LLC                                                                                           Bayard, P.A.                              Wilmington DE 19801                                             ejohnson@bayardlaw.com        Email

                                                                                                                                               Attn: Elliot M. Smith
                                                                                                                                               127 Public Square, Suite 4900
Counsel to The ChildSmiles Group, LLC a/k/a Abra Health                                            Benesch Friedlander Coplan & Aronoff LLP    Cleveland OH 44114                                              esmith@beneschlaw.com         Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                          Page 1 of 12
                                                                                  Case 24-12480-LSS                                Doc 899               Filed 02/03/25                     Page 5 of 15
                                                                                                                                              Exhibit A
                                                                                                                                         Core/2002 Service List
                                                                                                                                        Served as set forth below

                                                   DESCRIPTION                                                        NAME                                                 ADDRESS                                                     EMAIL            METHOD OF SERVICE

                                                                                                                                               Attn: Kevin M. Capuzzi, Juan E. Martinez, Jennifer R. Hoover     kcapuzzi@beneschlaw.com
Counsel to Babson Macedonia Partners, LLC, TM2, LLC, The ChildSmiles Group, LLC a/k/a Abra                                                     1313 North Market Street, Suite 1201                             jmartinez@beneschlaw.com
Health                                                                                          Benesch Friedlander Coplan & Aronoff LLP       Wilmington DE 19801‐6101                                         jhoover@beneschlaw.com          Email

                                                                                                                                        Attn: Benjamin Potts, Mae Oberste
                                                                                                                                        500 Delaware Avenue
                                                                                                                                        Suite 901                                                               benjamin.potts@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP Wilmington DE 19801                                                     mae.oberste@blbglaw.com         Email

                                                                                                                                        Attn: Jeroen van Kwawegen, Thomas James
                                                                                                                                        1251 Avenue of the Americas                                             jeroen@blbglaw.com
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass and Former Stockholders Bernstein Litowitz Berger & Grossmann LLP New York NY 10020                                                       thomas.james@blbglaw.com        Email

                                                                                                                                               Attn: Scott Blakeley
                                                                                                                                               530 Technology Drive
                                                                                                                                               Suite 100
Cousnel to Doctor's Best Inc                                                                    Blakeley LC                                    Irvine CA 92618                                                  SEB@BlakeleyLC.com              Email

                                                                                                                                               Attn: Michael B. Schaedle, Stanley B. Tarr, Jordan L. Williams   mike.schaedle@blankrome.com
Counsel for Wilmington Trust, National Association, as Prepetition First Lien Agent and DIP                                                    1201 N. Market Street, Suite 800                                 stanley.tarr@blankrome.com
Agent                                                                                           Blank Rome LLP                                 Wilmington DE 19801                                              jordan.williams@blankrome.com   Email

                                                                                                                                               Attn: Kimberly A. Evans, Irene R. Lax
                                                                                                                                               222 Delaware Ave
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                              Suite 1120                                                       kim@blockleviton.com
Stockholders                                                                                    Block & Leviton, LLP                           Wilmington DE 19801                                              irene@blockleviton.com          Email

                                                                                                                                                                                                                fitzgeraldb@hcfl.gov
                                                                                                                                               Post Office Box 1110                                             stroupj@hcfl.gov
Counsel to Nancy C. Millan, Hillsborough County Tax Collector                                   Brian T. FitzGerald                            Tampa FL 33601‐1110                                              connorsa@hcfl.gov               Email

                                                                                                                                               Attn: Kristen N. Pate
                                                                                                                                               350 N. Orleans Street
                                                                                                                                               Suite 300
Counsel to Brookfield Properties Retail Inc                                                     Brookfield Properties Retail Inc               Chicago IL 60654‐1607                                            bk@bpretail.com                 Email

                                                                                                                                               Attn: Shawn M. Christianson
                                                                                                                                               425 Market Street, Suite 2900
Counsel to Oracle America, Inc                                                                  Buchalter, A Professional Corporation          San Francisco CA 94105‐3493                                      schristianson@buchalter.com     Email

                                                                                                                                               Attn: J. Cory Falgowski
Counsel to Comenity Capital Bank, CTO24 Carolina LLC, as successor in interest to DDR Carolina                                                 222 Delaware Avenue, Suite 1030
Pavilion, LP, Sylvan Park Apartments, LLC                                                      Burr & Forman LLP                               Wilmington DE 19801                                              jfalgowski@burr.com             Email

                                                                                                                                               Attn: J. Ellsworth Summers, Jr., Dana L. Robbins
Counsel for CTO24 Carolina LLC, as successor in interest to DDR Carolina Pavilion, LP, Sylvan                                                  50 North Laura Street, Suite 3000                                esummers@burr.com
Park Apartments, LLC                                                                            Burr & Forman LLP                              Jacksonville FL 32202                                            drobbins@burr.com               Email

                                                                                                                                               Attn: James H. Haithcock, III
                                                                                                                                               420 N. 20th Street, Suite 3400
Counsel to Comenity Capital Bank                                                                Burr & Forman LLP                              Birmingham AL 35203                                              jhaithcock@burr.com             Email

                                                                                                                                               Attn: Richard J. McCord
                                                                                                                                               90 Merrick Avenue
                                                                                                                                               9th Floor
Counsel to 3644 Long Beach Road LLC                                                             Certilman Balin Adler & Hyman, LLP             East Meadow NY 11554                                             rmccord@certilmanbalin.com      Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                           Page 2 of 12
                                                                               Case 24-12480-LSS                          Doc 899                Filed 02/03/25                   Page 6 of 15
                                                                                                                                      Exhibit A
                                                                                                                                 Core/2002 Service List
                                                                                                                                Served as set forth below

                                                   DESCRIPTION                                                  NAME                                              ADDRESS                                       EMAIL                METHOD OF SERVICE

                                                                                                                                       Attn: Mark L. Desgrosseilliers
                                                                                                                                       Hercules Plaza
                                                                                                                                       1313 North Market St, Suite 5400
Counsel to Hilco Merchant Resources, LLC                                                    Chipman Brown Cicero & Cole, LLP           Wilmington DE 19801                                 desgross@chipmanbrown.com         Email

                                                                                                                                       Attn: Audrey L. Hornisher
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC,                                              901 Main Street, Suite 6000
Vestar‐CPT Tempe Marketplace, LLC                                                           Clark Hill PLC                             Dallas TX 75202                                     ahornisher@clarkhill.com          Email

                                                                                                                                       Attn: Karen M. Grivner
Counsel to Crossroads Centre II, LLC, Surprise Towne Center Holdings, LLC, VS Tempe, LLC,                                              824 N. Market Street, Suite 710
Vestar‐CPT Tempe Marketplace, LLC                                                           Clark Hill PLC                             Wilmington DE 19801                                 kgrivner@clarkhill.com            Email

                                                                                                                                       Attn: Bruce Z. Walker
                                                                                                                                       3350 Riverwood Parkway, Suite 1600
Counsel to Horizon Jajo, LLC                                                                Cohen Pollock Merlin Turner, P.C.          Atlanta GA 30339                                    bwalker@cpmtlaw.com               Email

                                                                                                                                       Attn: John D. Landwehr
                                                                                                                                       231 Madison Street
Counsel to Missouri Boulevard Investment Company                                            Cook, Vetter, Doerhoff & Landwehr, P.C.    Jefferson City MO 65101                             jlandwehr@cvdl.net                Email

                                                                                                                                       Attn: Belkys Escobar
                                                                                                                                       One Harrison Street, SE, 5th Floor
                                                                                                                                       PO Box 7000
Counsel to County of Loudoun, Virginia                                                      County of Loudoun, Virginia                Leesburg VA 20177‐7000                              belkys.escobar@loudoun.gov        Email

                                                                                                                                       Attn: William L. Siegel
                                                                                                                                       901 Main Street, Suite 3900
Counsel to Krober Supply Chain US, Inc                                                      Cowles & Thompson, P.C.                    Dallas TX 75202                                     bsiegel@cowlesthompson.com        Email

                                                                                                                                       Attn: Brian L. Shaw
                                                                                                                                       123 North Wacker Drive
                                                                                                                                       Suite 1800
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                        Cozen O'Connor                             Chicago IL 60606                                    bshaw@cozen.com                   Email

                                                                                                                                       Attn: Marla S. Benedek, Kaan Ekiner
                                                                                                                                       1201 N. Market Street
                                                                                                                                       Suite 1001                                          mbenedek@cozen.com
Counsel to the Prophecy Settlement‐related Liquidating Trust 2022‐23                        Cozen O'Connor                             Wilmington DE 19801                                 kekiner@cozen.com                 Email

                                                                                                                                       Attn: Christopher P. Simon
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior                                                 1105 North Market Street, Suite 901
Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                     Cross & Simon, LLC                         Wilmington DE 19801                                 csimon@crosslaw.com               Email

                                                                                                                                       Attn: Kevin S. Mann
                                                                                                                                       1105 North Market Street, Suite 901
Counsel to Kawips Delaware Cuyahoga Falls, LLC                                              Cross & Simon, LLC                         Wilmington DE 19801                                 kmann@crosslaw.com                Email

                                                                                                                                       Attn: Stephen B. Porterfield
                                                                                                                                       2311 Highland Avenue South
                                                                                                                                       P.O. Box 55727
Counsel to Kings Mountain Investments, Inc.                                                 Dentons Sirote PC                          Birmingham AL 35255‐5727                            stephen.porterfield@dentons.com   Email

                                                                                                                                       Attn: Christopher M. Winter, James C. Carignan
                                                                                                                                       1201 N. Market Street, Suite 501                    cmwinter@duanemorris.com
Counsel to Ahuja Development LLC                                                            Duane Morris LLP                           Wilmington DE 19801                                 jccarignan@duanemorris.com        Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                   Page 3 of 12
                                                                                Case 24-12480-LSS                                 Doc 899               Filed 02/03/25                      Page 7 of 15
                                                                                                                                             Exhibit A
                                                                                                                                        Core/2002 Service List
                                                                                                                                       Served as set forth below

                                                    DESCRIPTION                                                    NAME                                                     ADDRESS                                              EMAIL                       METHOD OF SERVICE

                                                                                                                                              Attn: Michael T. Gustafson
                                                                                                                                              320 South Canal Street, Suite 3300
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                      Faegre Drinker Biddle & Reath LLP             Chicago IL 60606                                              mike.gustafson@faegredrinker.com         Email

                                                                                                                                              Attn: Patrick A. Jackson
                                                                                                                                              222 Delaware Avenue, Suite 1410
Counsel to United Parcel Service, Inc. and its subsidiaries and affiliates                      Faegre Drinker Biddle & Reath LLP             Wilmington DE 19801                                           patrick.jackson@faegredrinker.com        Email

                                                                                                                                              Attn: Brian E. Farnan, Michael J. Farnan
                                                                                                                                              919 North Market Street
                                                                                                                                              12th Floor                                                    bfarnan@farnanlaw.com
Counsel to Ad Hoc Group of Freedom Lenders                                                      Farnan LLP                                    Wilmington DE 19801                                           mfarnan@farnanlaw.com                    Email

                                                                                                                                              Attn: Erin P. Severini, Joy D. Kleisinger
                                                                                                                                              3300 Great American Tower
                                                                                                                                              301 East Fourth Street                                        eseverini@fbtlaw.com
Counsel for WPG Legacy, LLC                                                                     Frost Brown Todd LLP                          Cincinnati OH 45202                                           jkleisinger@fbtlaw.com                   Email

                                                                                                                                              Attn: Sloane B. O’Donnell
                                                                                                                                              Union Trust Building
                                                                                                                                              501 Grant Street, Suite 800
Counsel for Cintas Corporation No. 2                                                            Frost Brown Todd LLP                          Pittsburgh PA 15219                                           sodonnell@fbtlaw.com                     Email

                                                                                                                                              Attn: Lorenzo Nunez
                                                                                                                                              PO Box 183853
Counsel to ACAR Leasing LTD d/b/a GM Financial Leasing                                          GM Financial Leasing                          Arlington TX 76096                                            Customer.service.bk@gmfinancial.com      Email

                                                                                                                                              Attn: Anthony W. Clark, Dennis A. Meloro
                                                                                                                                              222 Delaware Avenue
                                                                                                                                              Suite 1600                                                    Anthony.Clark@gtlaw.com
Counsel to Arizona Nutritional Supplements                                                      Greenberg Traurig, LLP                        Wilmington DE 19801                                           Dennis.Meloro@gtlaw.com                  Email

                                                                                                                                              Susan Fuertes
Counsel to Harris County, Harris County Flood Control District, Harris County Port of Houston                                                 Attn: Property Tax Division
Authority, Harris County Hospital District, and Harris County Department of Education                                                         P.O. Box 2848
(hereinafter “Harris County”)                                                                   Harris County Attorney’s Office               Houston TX 77252                                              taxbankruptcy.cao@harriscountytx.gov     Email

                                                                                                                                              Attn: Phillip W. Nelson
                                                                                                                                              150 N. Riverside Plaza, Suite 2700
Counsel to Alter Domus (US) LLC                                                                 Holland & Knight LLP                          Chicago IL 60606                                              phillip.nelson@hklaw.com                 Email

                                                                                                                                              Centralized Insolvency Operation
                                                                                                                                              P.O. Box 7346
IRS Insolvency Section                                                                          Internal Revenue Service                      Philadelphia PA 19101‐7346                                                                             First Class Mail

                                                                                                                                              Attn: William J. Levant
                                                                                                                                              910 Harvest Drive
                                                                                                                                              Post Office Box 3037
Counsel to 100 Brentwood Associates, L.P.                                                       Kaplin Stewart Meloff Reiter & Stein, P.C.    Blue Bell PA 19422                                            wlevant@kaplaw.com                       Email


Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,                                                      Attn: Robert L. LeHane, Jennifer D. Raviele, Allison Selick   KDWBankruptcyDepartment@kelleydrye.com
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                     3 World Trade Center                                          rlehane@kelleydrye.com
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                  175 Greenwich Street                                          jraviele@kelleydrye.com
Owner LLC, and SITE Centers Corp.                                                               Kelley Drye & Warren LLP                      New York NY 10007                                             aselick@kelleydrye.com                   Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                         Page 4 of 12
                                                                                  Case 24-12480-LSS                                Doc 899                Filed 02/03/25                     Page 8 of 15
                                                                                                                                               Exhibit A
                                                                                                                                          Core/2002 Service List
                                                                                                                                         Served as set forth below

                                                   DESCRIPTION                                                       NAME                                                   ADDRESS                                                   EMAIL                METHOD OF SERVICE

                                                                                                                                                Attn: Michelle Leeson, Paralegal, Collections Specialist, CFCA
                                                                                                 Ken Burton, Jr., Manatee County Tax            1001 3rd Ave W, Suite 240
Counsel to Ken Burton, Jr., Manatee County Tax Collector                                         Collector                                      Brandenton FL 34205‐7863                                         legal@taxcollector.com            Email

                                                                                                                                                Attn: Scott A. Bachert
                                                                                                                                                1411 Scottsville Road
Counsel to Frontier Bel Air LLC, Frontier Dania LLC, Frontier Osceola LLC, Frontier Dover LLC,                                                  P. O. Box 9547
Frontier Kissimmee LLC                                                                           Kerrick Bachert PSC                            Bowling Green KY 42102‐9547                                                                        First Class Mail

                                                                                                                                                Attn: J. Daniel Albert, Michael McCutcheon
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                               280 King of Prussia Rd                                           dalbert@ktmc.com
Stockholders                                                                                     Kessler Topac Meltzer & Check LLP              Radnor PA 19087                                                  mmcutcheon@ktmc.com               Email

                                                                                                                                                Attn: Connor K. Casas
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis          333 West Wolf Point Plaza
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                              Chicago IL 60654                                                 connor.casas@kirkland.com         Email

                                                                                                                                                Attn: Steven N. Serajeddini P.C.
                                                                                                 Kirkland & Ellis LLP Kirkland & Ellis          601 Lexington Avenue
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        International LLP                              New York NY 10022                                                steven.serajeddini@kirkland.com   Email

                                                                                                                                                Attn: Domenic E. Pacitti
                                                                                                                                                919 N. Market Street, Suite 1000
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP            Wilmington DE 19801‐3062                                         dpacitti@klehr.com                Email

                                                                                                                                                Attn: Morton R. Branzburg
                                                                                                                                                1835 Market Street, Suite 1400
Counsel to Blue Owl Real Estate Capital LLC, BCDC Portfolio Owner LLC, and BCHQ Owner LLC        Klehr Harrison Harvey Branzburg LLP            Philadelphia PA 19103                                            mbranzburg@klehr.com              Email

                                                                                                                                                Attn: Jeffrey Kurtzman
                                                                                                                                                101 N. Washington Avenue
                                                                                                                                                Suite 4A
Counsel to Oxford Valley Road Associates, L.P.                                                   Kurtzman Steady LLC                            Margate NJ 08402                                                 kurtzman@kurtzmansteady.com       Email

                                                                                                                                                Attn: Adam G. Landis, Matt McGuire, Elizabeth Rogers
                                                                                                                                                919 Market Street Suite 1800                                     landis@lrclaw.com
                                                                                                                                                P.O. Box 2087                                                    mcguire@lrclaw.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                                Landis Rath & Cobb LLP                         Wilmington DE 19801                                              erogers@lrclaw.com                First Class Mail and Email

                                                                                                                                                Attn: Andrew Sorkin
                                                                                                                                                555 Eleventh Street NW
                                                                                                                                                Suite 1000
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                   Latham & Watkins LLP                           Washington DC 20004                                              andrew.sorkin@lw.com              Email

                                                                                                                                                Attn: James Kstanes, Timothy Beau Parker
                                                                                                                                                330 N Wabash Avenue
                                                                                                                                                Suite 2800                                                       james.ktsanes@lw.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                   Latham & Watkins LLP                           Chicago IL 60611 Canada                                          beau.parker@lw.com                Email

                                                                                                                                                Attn: Jennifer Ezring, James Ktsanes, Andrew Sorkin              Jennifer.Ezring@lw.com
                                                                                                                                                1271 Avenue of the Americas                                      James.Ktsanes@lw.com
Counsel to the ABL Secured Parties                                                               Latham & Watkins LLP                           New York NY 10020                                                andrew.sorkin@lw.com              First Class Mail and Email
Counsel to BCDC Portfolio Owner LLC, BCHQ Owner LLC, Brookfield Properties Retail, Inc.,
Curbline Properties Corp., First Washington Realty, GCP Boom LLC, JLL Property Management                                                       Attn: Susan E. Kaufan
(Franklin Mall), Kite Realty Group, L.P., NNN REIT, Inc., Regency Centers, L.P., Shamrock A.                                                    919 N. Market Street, Suite 460
Owner LLC, and SITE Centers Corp.                                                                Law Office of Susan E. Kaufman                 Wilmington DE 19801                                              skaufman@skaufmanlaw.com          Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                            Page 5 of 12
                                                                                    Case 24-12480-LSS                              Doc 899                 Filed 02/03/25                    Page 9 of 15
                                                                                                                                                Exhibit A
                                                                                                                                           Core/2002 Service List
                                                                                                                                          Served as set forth below

                                                    DESCRIPTION                                                         NAME                                                  ADDRESS                                     EMAIL                METHOD OF SERVICE

                                                                                                                                                 Attn: Diane W. Sanders
                                                                                                                                                 PO Box 17428
Counsel to Nueces County, Mclennan County, Kerr County, Hidalgo County, City of McAllen               Linebarger Goggan Blair & Sampson, LLP     Austin TX 78760‐7428                                 austin.bankruptcy@lgbs.com       Email

                                                                                                                                                 Attn: Don Stecker
                                                                                                                                                 112 E. Pecan Street, Suite 2200
Counsel to Bexar County, City of El Paso                                                              Linebarger Goggan Blair & Sampson, LLP     San Antonio TX 78205                                 sanantonio.bankruptcy@lgbs.com   Email

                                                                                                                                                 Attn: John K. Turner
                                                                                                                                                 2777 N. Stemmons Freeway
                                                                                                                                                 Suite 1000
Counsel to Dallas County                                                                              Linebarger Goggan Blair & Sampson, LLP     Dallas TX 75207                                      dallas.bankruptcy@lgbs.com       Email

Counsel to Hopkins County, Kaufman County, Sulphur Springs ISD, Rockwall CAD, Tarrant
County, Navarro County, Smith County, Ellis County, City of Sulphur Springs, Wise County, Tom                                                    Attn: John Kendrick Turner
Green CAD, Grayson County, Gregg County, Prosper ISD, Town of Prosper, City of Carrollton,                                                       3500 Maple Avenue
Northwest ISD, City of Allen, City of Wylie, Lewisville ISD, Allen ISD, City of Frisco, Irving ISD,                                              Suite 800
Parker CAD                                                                                            Linebarger Goggan Blair & Sampson, LLP     Dallas TX 75219                                      dallas.bankruptcy@lgbs.com       Email


Counsel to Cypress‐Fairbanks ISD, Harris County, Galveston County, Montgomery County, Ford
Bend County, Katy ISD, Harris CO ESD # 08, City of Houston, Montgomery County, Harris CO ESD
# 48, Lone Star College System, Harris CO ESD # 16, Harris CO ESD # 11, Houston ISD, Galveston                                                   Attn: Tara L. Grundemeier
County, Harris CO ESD # 09, Cypress‐Fairbanks ISD, Deer Park ISD, Fort Bend County, Houston                                                      PO Box 3064
Comm Coll System, City of Pasadena, Jefferson County                                           Linebarger Goggan Blair & Sampson, LLP            Houston TX 77253‐3064                                houston_bankruptcy@lgbs.com      Email

                                                                                                                                                 Attn: Michael S. Etkin, Michael Papandrea
Counsel to Woodbolt Distribution, LLC, Glanbia Performance Nutrition, Inc., Sunwarrior                                                           One Lowenstein Drive                                 metkin@lowenstein.com
Ventures LLC d/b/a Sunwarrior LLC and Sun Brothers, LLC                                               Lowenstein Sandler LLP                     Roseland NJ 07068                                    mpapandrea@lowenstein.com        Email

                                                                                                                                                 Attn: Lisa S. Bonsall
                                                                                                                                                 Four Gateway Center
                                                                                                                                                 100 Mulberry Street
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                       McCarter & English, LLP                    Newark NJ 07102                                      lbonsall@mccarter.com            Email

                                                                                                                                                 Attn: Shannon D. Humiston
                                                                                                                                                 Renaissance Centre
                                                                                                                                                 405 N. King Street, 8th Floor
Counsel to Heritage Seymour I, LLC and Heritage Seymour II, LLC                                       McCarter & English, LLP                    Wilmington DE 19801                                  shumiston@mccarter.com           Email

Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                          Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                    700 Jeffrey Way, Suite 100
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.      Round Rock TX 78665                                  jparsons@mvbalaw.com             Email


Counsel to Tax Appraisal District of Bell County, Brazos County, Burnet Central Appraisal District,
Bowie Central Appraisal District, Denton County, Guadalupe County, Hays County, Midland                                                          Attn: Julie Anne Parsons
Central Appraisal District, City of Waco/Waco Independent School District/La Vega Independent                                                    P.O. Box 1269
School District, and Williamson County                                                              McCreary, Veselka, Bragg, & Allen, P.C.      Round Rock TX 78680‐1269                             jparsons@mvbalaw.com             Email

                                                                                                                                                 Attn: David A. Shapiro
                                                                                                                                                 33 N. LaSalle Street
                                                                                                                                                 Suite 1400                                           dshapiro@mckenna‐law.com
Counsel to Parm Golf Center LLC                                                                       McKenna Storer                             Chicago IL 60602                                     service@mckenna‐law.com          Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                            Page 6 of 12
                                                                               Case 24-12480-LSS                    Doc 899                  Filed 02/03/25                       Page 10 of 15
                                                                                                                                    Exhibit A
                                                                                                                              Core/2002 Service List
                                                                                                                             Served as set forth below

                                                   DESCRIPTION                                           NAME                                                     ADDRESS                                                 EMAIL                    METHOD OF SERVICE

                                                                                                                                    Attn: Nicole C. Kenworthy
                                                                                                                                    6801 Kenilworth Avenue, Suite 400
Counsel to Prince George's County, Maryland                                           Meyers, Rodbell & Rosenbaum, P.A.             Riverdale MD 20737‐1385                                           bdept@mrrlaw.net                     Email

                                                                                                                                    Attn: Joseph H. Baldiga, Shannah L. Colbert
                                                                                                                                    1800 West Park Dr., Suite 400                                     jbaldiga@mirickoconnell.com
Counsel to New Westgate Mall LLC                                                      Mirick, O’Connell, DeMallie & Lougee, LLP     Westborough MA 01581                                              scolbert@mirickoconnell.com          Email

                                                                                                                                    Attn: Rachel B. Mersky
                                                                                                                                    1201 N. Orange Street, Suite 400
Counsel to Kimco Realty Corporation, 2205 Federal Investors, LLC                      Monzack Mersky and Browder, P.A.              Wilmington DE 19801                                               rmersky@monlaw.com                   Email

                                                                                                                                    Attn: Christopher L. Carter
                                                                                                                                    One Federal Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                            Morgan, Lewis & Bockius LLP                   Boston MA 02110‐1726                                              christopher.carter@morganlewis.com   Email

                                                                                                                                    Attn: David K. Shim
                                                                                                                                    One State Street
Counsel to Bank of America, N.A., as Prepetition ABL Agent                            Morgan, Lewis & Bockius LLP                   Hartford CT 06103‐3178                                            david.shim@morganlewis.com           Email

                                                                                                                                    Attn: Carl N. Kunz, III, Christopher M. Donnelly
                                                                                                                                    500 Delaware Avenue, Suite 1500                                   ckunz@morrisjames.com
Counsel for RCG‐PSC Camp Creek Owner, LLC, University Realty Associates, LLC          Morris James LLP                              Wilmington DE 19801                                               cdonnelly@morrisjames.com            Email

                                                                                                                                    Attn: Deborah M. Perry
                                                                                                                                    500 N. Akard Street
                                                                                                                                    Suite 4000
Counsel to BC Exchange Salt Pond                                                      Munsch Hardt Kopf & Harr, P.C.                Dallas TX 75201‐6659                                              dperry@munsch.com                    Email

                                                                                                                                    Attn: Timothy J. Fox, Esq
                                                                                                                                    844 King Street, Suite 2207
                                                                                      Office of the United States Trustee for the   Lockbox 35
United States Trustee for the District of Delaware                                    District of Delaware                          Wilmington DE 19801                                               timothy.fox@usdoj.gov                Email

                                                                                                                                    Attn: Brian J. McLaughlin
                                                                                                                                    222 Delaware Avenue
                                                                                                                                    Suite 1105
Counsel to Rockfirm, LLC                                                              Offit Kurman, PA                              Wilmington DE 19801                                               Brian.McLaughlin@offitkurman.com     Email

                                                                                                                                    Attn: Tammy Jones
                                                                                                                                    320 Robert S. Kerr
                                                                                                                                    Room 307
Counsel to Oklahoma County Treasurer                                                  Oklahoma County Treasurer                     Oklahoma City OK 73102                                            tammy.jones@oklahomacounty.org       Email

                                                                                                                                    Attn: Bradford J. Sandler, Colin R. Robinson
                                                                                                                                    919 North Market Street, 17th Floor
                                                                                                                                    P.O. Box 8705                                                     bsandler@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                              Pachulski Stang Ziehl & Jones LLP             Wilmington DE 19899‐8705                                          crobinson@pszjlaw.com                Email

                                                                                                                                    Attn: Robert J. Feinstein, Alan J. Kornfeld, Theodore S. Heckel   rfeinstein@pszjlaw.com
                                                                                                                                    780 Third Avenue, 34th Floor                                      akornfeld@pszjlaw.com
Counsel to the Official Committee of Unsecured Creditors                              Pachulski Stang Ziehl & Jones LLP             New York NY 10017                                                 theckel@pszjlaw.com                  Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                 Page 7 of 12
                                                                              Case 24-12480-LSS                             Doc 899                Filed 02/03/25                    Page 11 of 15
                                                                                                                                          Exhibit A
                                                                                                                                     Core/2002 Service List
                                                                                                                                    Served as set forth below

                                                   DESCRIPTION                                                    NAME                                                    ADDRESS                                          EMAIL                  METHOD OF SERVICE

                                                                                                                                           Attn: Joseph C. Barsalona II
                                                                                                                                           824 North Market Street
Counsel to Brian Gale, Mark Noble, Terry Philippas, and Lawrence Bass, and Former                                                          Suite 800
Stockholders                                                                                  Pashman Stein Walder Hayden, PC              Wilmington DE 19801                                         jbarsalona@pashmanstein.com        Email

                                                                                                                                           Attn: Jayme Goldstein, Jeremy Evans, Isaac Sasson, Daniel   jaymegoldstein@paulhastings.com
                                                                                                                                           Fliman                                                      jeremyevans@paulhastings.com
                                                                                                                                           200 Park Avenue                                             isaacsasson@paulhastings.com
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                             Paul Hastings LLP                            New York NY 10166                                           danfliman@paulhastings.com         First Class Mail and Email

                                                                                                                                           Attn: Nicholas A. Bassett
                                                                                                                                           2050 M Street NW
Counsel to the Ad Hoc Group of First Lien Lenders and DIP Lenders                             Paul Hastings LLP                            Washington DC 20036                                         nicholasbassett@paulhastings.com   Email

                                                                                                                                           Attn: Hiram Gutierrez
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,    P.O. Box 2916
Cousnel to Brownsville Independent School District                                            L.L.P                                        McAllen TX 78502                                            edinburgbankruptcy@pbfcm.com       Email

                                                                                                                                           Attn: Laura J. Monroe
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,    PO Box 817
Cousel to Lubbock Central Appraisal District Midland County                                   L.L.P                                        Lubbock TX 79408                                            lmbkr@pbfcm.com                    Email

                                                                                                                                           Attn: Sergio E. Garcia
                                                                                                                                           3301 Northland Drive
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,    Suite 505
Counsel to Kerrville Independent School District, Copperas Cove Independent School District   L.L.P                                        Austin TX 78731                                             sgarcia@pbfcm.com                  Email

                                                                                                                                           Attn: Melissa E. Valdez
                                                                                                                                           1235 North Loop West
                                                                                              Perdue, Brandon, Fielder, Collins & Mott,    Suite 600
Counsel to Magnolia Independent School District and City of Montgomery                        L.L.P.                                       Houston TX 77008                                            mvaldez@pbfcm.com                  Email

                                                                                                                                          Attn: Alysia Córdova
                                                                                              Perdue, Brandon, Fielder, Collins and Mott, P.O. Box 9132                                                acordova@pbfcm.com
Counsel to Potter County Tax Office and Randall County Tax Office                             L.L.P.                                      Amarillo TX 79105                                            amabkr@pbfcm.com                   Email

                                                                                                                                           Attn: Elisa Hyder
                                                                                                                                           Three Logan Square
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                1717 Arch Street, Suite 2800
Inc., Royal Canin U.S.A., Inc.                                                                Polsinelli PC                                Philadelphia PA 19103                                       ehyder@polsinelli.com              Email

                                                                                                                                           Attn: Shanti M. Katona, Katherine M. Devanney
Counsel for Champion Petfoods USA Inc., Mars Petcare US, Inc., Mars Fishcare North America,                                                222 Delaware Avenue, Suite 1101                             skatona@polsinelli.com
Inc., Royal Canin U.S.A., Inc.                                                                Polsinelli PC                                Wilmington DE 19801                                         kdevanney@polsinelli.com           Email

                                                                                                                                           Attn: Jeremy W. Ryan, Brett M. Haywood, Ethan H. Sulik
                                                                                                                                           1313 N. Market Street                                       jryan@potteranderson.com
                                                                                                                                           6th Floor                                                   bhaywood@potteranderson.com
Counsel to JPMorgan Chase Bank, N.A., as Prepetition ABL Agent                                Potter Anderson & Corroon LLP                Wilmington DE 19801                                         esulik@potteranderson.com          Email

                                                                                                                                           Attn: L. Kate Mason
                                                                                                                                           411 E. Wisconsin Avenue
                                                                                                                                           Suite 2400
Counsel to Whirlpool Corporation                                                              Quarles & Brady LLP                          Milwaukee WI 53202                                          Katie.Mason@quarles.com            Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                       Page 8 of 12
                                                                                Case 24-12480-LSS                               Doc 899               Filed 02/03/25                     Page 12 of 15
                                                                                                                                             Exhibit A
                                                                                                                                        Core/2002 Service List
                                                                                                                                       Served as set forth below

                                                    DESCRIPTION                                                     NAME                                                 ADDRESS                                                    EMAIL           METHOD OF SERVICE

                                                                                                                                              Attn: Kurt F. Gwynne, Jason D. Angelo
                                                                                                                                              1201 North Market Street, Suite 1500                           kgwynne@reedsmith.com
Counsel to Bank of America, N.A., as Prepetition ABL Agent                                        Reed Smith LLP                              Wilmington DE 19801                                            jangelo@reedsmith.com          Email

                                                                                                                                              Attn: John H. Knight, Amanda R. Steele, Alexander R. Steiger
                                                                                                                                              One Rodney Square                                              knight@rlf.com
                                                                                                                                              920 North King Street                                          steele@rlf.com
Cousnel to B. Riley Principal Investments, LLC and its affiliates                                 Richards Layton & Finger PA                 Wilmington DE 19801                                            steiger@rlf.com                Email

                                                                                                                                              Attn: Steven Fox
                                                                                                                                              Times Square Tower Suite 2506
                                                                                                                                              Seven Times Square
Counsel to Hilco Merchant Resources, LLC                                                          Riemer & Braunstein LLP                     New York NY 10036                                                                             First Class Mail

                                                                                                                                              Attn: Michael L. Schlepp
                                                                                                                                              1550 Wewatta Street, Floor 2
Counsel to Wilson AmCap II LLC                                                                    S&D Law                                     Denver CO 80202                                                mschleep@s‐d.com               Email




Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                   Attn: Monique B. DiSabatino, Mark Minuti
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                 1201 North Market Street, Suite 2300
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                            P.O. Box 1266                                                  monique.disabatino@saul.com
Summerville Station LLC, and Phillips Edison & Company, Beral, LLLP, Laurel Lakes, LLC             Saul Ewing LLP                             Wilmington DE 19899                                            mark.minuti@saul.com           Email




Counsel to Atlantic Plaza Station LLC, Edgewood Station LLC, Fairlawn Station LLC, Harvest
Station LLC, Village Mooresville Station LLC, Fairfield Station LLC, Lakewood (Ohio) Station LLC,
Shoregate Station LLC, Hartville Station LLC, Jensen Beach Station LLC, Chapel Hill North Station
LLC, Five Town Station LLC, Golden Station LLC, Hamilton Ridge Station LLC, Hampton Village                                                   Attn: Turner N. Falk
Station LLC, Memorial Kirkwood Station LLC, Orchard Square Station LLC, Rainbow Station North                                                 Centre Square West
LLC, Southfield Station LLC, Stone Gate Station LLC, Valrico Station LLC, Wheat Ridge Station LLC,                                            1500 Market Street, 38th Floor
Summerville Station LLC, and Phillips Edison & Company                                             Saul Ewing LLP                             Philadelphia PA 19102                                          turner.falk@saul.com           Email

                                                                                                                                              Attn: Bankruptcy Department
                                                                                                                                              Brookfield Place
                                                                                                  Securities & Exchange Commission ‐ NY       200 Vesey Street, Suite 400                                    bankruptcynoticeschr@sec.gov
Securities and Exchange Commission                                                                Office                                      New York NY 10281‐1022                                         nyrobankruptcy@sec.gov         First Class Mail and Email

                                                                                                                                              Attn: Bankruptcy Department
                                                                                                                                              One Penn Center
                                                                                                  Securities & Exchange Commission ‐          1617 JFK Blvd, Suite 520
Securities and Exchange Commission                                                                Philadelphia Office                         Philadelphia PA 19103                                          secbankruptcy@sec.gov          First Class Mail and Email

                                                                                                                                              Attn: Alan J. Taylor
                                                                                                                                              29100 Northwestern Highway, Suite 240
Counsel to Brookdale Shopping Center, L.L.C. ( Creditor/Landlord)                                 Segal McCambridge Singer & Mahoney          Southfield MI 48034                                            ataylor@smsm.com               Email

                                                                                                                                              Attn: J. David Forsyth
                                                                                                                                              400 Poydras Street
                                                                                                                                              Suite 2550
Counsel to Shanri Holdings Corporation                                                            Sessions, Fishman & Nathan, LLC             New Orleans LA 70130                                           jdf@sessions‐law.com           Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                         Page 9 of 12
                                                                                Case 24-12480-LSS                                   Doc 899            Filed 02/03/25                  Page 13 of 15
                                                                                                                                             Exhibit A
                                                                                                                                        Core/2002 Service List
                                                                                                                                       Served as set forth below

                                                    DESCRIPTION                                                         NAME                                                ADDRESS                                                 EMAIL              METHOD OF SERVICE

                                                                                                                                                                                                             bateman@sewkis.com
                                                                                                                                                                                                             patel@sewkis.com
                                                                                                                                              Attn: Gregg Bateman, Sagar Patel, Michael Danenberg, John R.   danenberg@sewkis.com
                                                                                                                                              Ashmead, Gregg S. Bateman, Andrew J. Matott                    ashmead@sewkis.com
Counsel to the DIP Agent, Wilmington Trust, National Association, as Prepetition First Lien                                                   One Battery Park Plaza                                         bateman@sewkis.com
Agent and DIP Agent                                                                               Seward & Kissel LLP                         New York NY 10004                                              matott@sewkis.com                 First Class Mail and Email

                                                                                                                                              Attn: Eric S. Goldstein                                        egoldstein@goodwin.com
                                                                                                                                              One Constitution Plaza                                         bankruptcy@goodwin.com
Counsel to Sayville Plaza Development, LLC                                                        Shipman & Goodwin LLP                       Hartford CT 06103‐1919                                         bankruptcyparalegal@goodwin.com   Email

                                                                                                                                              Attn: William F. McDonald III
                                                                                                                                              10920 Via Frontera, Suite 220
Counsel to ShopCore Properties and its related entities                                           ShopCore Properties                         San Diego CA 92127                                             wmcdonald@shopcore.com            Email

                                                                                                                                              Attn: Ronald M. Tucker
                                                                                                                                              225 West Washington Street
Counsel to Simon Property Group, Inc. and its related entities                                    Simon Property Group, Inc.                  Indianapolis IN 46204                                          rtucker@simon.com                 Email

                                                                                                                                              Attn: Michelle E. Shriro
                                                                                                                                              16200 Addison Road, Suite 140
Counsel to Village at the Mall Holdings, LLC, Bridge33 Capital LLC                                Singer & Levick, P.C.                       Addison TX 75001                                               mshriro@singerlevick.com          Email

                                                                                                                                              Attn: Dana S. Plon
                                                                                                                                              123 South Broad Street, Suite 2100
Counsel to Paoli Shopping Center Limited Partnership, Phase II                                    Sirlin Lesser & Benson, P.C.                Philadelphia PA 19109                                          dplon@sirlinlaw.com               Email

                                                                                                                                              Attn: Joseph H. Lemkin
                                                                                                                                              PO Box 5315
Counsel to Peoria Rental Properties, LLC                                                          Stark & Stark, P.C.                         Princeton NJ 08543                                             jlemkin@stark‐stark.com           Email

                                                                                                                                         Attn: Sabrina L. Streusand
                                                                                                                                         1801 S. MoPac Expressway, Suite 320
Counsel to Dell Financial Service L.L.C.                                                          Streusand, Landon Ozburn & Lemmon, LLP Austin TX 78746                                                     streusand@slollp.com              Email

                                                                                                                                          Attn: G. James Landon
                                                                                                                                          1801 S. Mopac Expressway, Suite 320
Counsel for Dell Financial Services, L.L.C.                                                       Streusand, Landon, Ozburn & Lemmon, LLP Austin TX 78746                                                    landon@slollp.com                 Email

                                                                                                                                              Attn: William A. Hazeltine
                                                                                                                                              919 N. Market Street
                                                                                                                                              Suite 420
Counsel to Whirlpool Corporation                                                                  Sullivan Hazeltine Allinson LLC             Wilmington DE 19801                                            whazeltine@sha‐llc.com            Email

                                                                                                                                              Attn: Charles S. Stahl, Jr.
                                                                                                                                              2525 Cabot Drive
                                                                                                                                              Suite 204
Counsel to Raymond Leasing Corporation                                                            Swanson, Martin & Bell, LLP                 Lisle IL 60532                                                 cstahl@smbtrials.com              Email

Counsel for Kin Properties, Inc., Jefan LLC, Aberdeen Oklahoma Associates, Pasan LLC, Esan LLC,
Fundamentals Company LLC, Muffrey LLC, Fundamentals Company, Kinpark Associates, Laurie                                                       Attn: Jeffrey Rhodes
Industries Inc., Alisan Trust, Diajeff Trust, Stowsan Limited Partnership, Esue LLC, Alisan LLC, and                                          2001 L Street, NW, Suite 500
Roseff LLC                                                                                           Tayman Lane Chaverri LLP                 Washington DC 20036                                            jrhodes@tlclawfirm.com            Email




             In re: Franchise Group, Inc., et al.
             Case No. 24‐12480 (JTD)                                                                                                         Page 10 of 12
                                                                          Case 24-12480-LSS                             Doc 899                  Filed 02/03/25                    Page 14 of 15
                                                                                                                                       Exhibit A
                                                                                                                                Core/2002 Service List
                                                                                                                               Served as set forth below

                                                   DESCRIPTION                                                 NAME                                                 ADDRESS                                                EMAIL                 METHOD OF SERVICE

                                                                                                                                        Attn: Bradshaw Rost
                                                                                                                                        4504 Walsh Street, Suite 200
Counsel to Creditor, Parkridge Center Retail, LLC                                          Tenenbaum & Saas, P.C.                       Chevy Chase MD 20815                                         BRost@tspclaw.com                   Email

                                                                                                                                        Attn: Christopher S. Murphy, Assistant Attorney General
                                                                                                                                        Bankruptcy & Collections Division
                                                                                                                                        P.O. Box 12548
Counsel to the Texas Comptroller of Public Accounts                                        Texas Attorney General's Office              Austin TX 78711‐2548                                         christopher.murphy@oag.texas.gov    Email

                                                                                                                                        Attn: William Ehrlich
                                                                                                                                        444 Executive Center Blvd, Suite 240
Counsel to Cielo Paso Las Tiendas, L.P.                                                    The Ehrlich Law Firm                         El Paso TX 79902                                             william@ehrlichlawfirm.com          Email

                                                                                                                                        Attn: Louis F Solimine
                                                                                                                                        312 Walnut Street
                                                                                                                                        Suite 2000
Counsel to LU Candlers Station Holdings, LLC                                               Thompson Hine LLP                            Cincinnati OH 45202‐4029                                     Louis.Solimine@ThompsonHine.com     Email

                                                                                                                                        Attn: Michael B. Pugh
                                                                                                                                        2 Sun Court, Suite 400
Counsel to Northside Village Conyers, LLC                                                  Thompson O'Brien Kappler & Nasuti PC         Peachtree Corners GA 30092                                   mpugh@tokn.com                      Email

                                                                                                                                        Attn: Stephen B. Gerald
                                                                                                                                        200 Continental Drive, Suite 401
Counsel to The J. M. Smucker Company and Amazing Organics LLC t/a Amazing Herbs            Tydings & Rosenberg LLP                      Newark DE 19713                                              sgerald@tydings.com                 Email

                                                                                                                                        Attn: David C. Weiss & Ellen Slights
                                                                                                                                        U.S. Attorney's Office
                                                                                                                                        1313 N Market Street, Suite 400
U.S. Attorney for the District of Delaware                                                 U.S. Attorney for Delaware                   Wilmington DE 19801                                                                              First Class Mail

                                                                                                                                        Secretary of the Treasury
                                                                                           U.S. Securities and Exchange Commission ‐    100 F. Street NE
Securities and Exchange Commission                                                         Headquarters                                 Washington DC 20549                                          secbankruptcy@sec.gov               First Class Mail and Email

                                                                                                                                        Attn: Geoffrey J. Peters
                                                                                                                                        5475 Rings Road
                                                                                                                                        Suite 200
Counsel to Sangamon North LLC, the Commons at Southpark LLC                                Weltman, Weinberg & Reis Co. LPA             Dublin OH 43017                                              bronationalecf@weltman.com          Email

                                                                                                                                        Attn: Bojan Guzina
                                                                                                                                        111 S. Wacker Dr., Suite 5100
Counsel to the Second Lien Secured Parties; HoldCo Lenders                                 White & Case LLP                             Chicago IL 60606                                             bojan.guzina@whitecase.com          First Class Mail and Email

                                                                                                                                                                                                         cshore@whitecase.com
                                                                                                                                        Attn: J. Christopher Shore, Samuel P. Hershey, Andrew Zatz, Erin sam.hershey@whitecase.com
                                                                                                                                        Smith, Brett Bakemeyer                                           azatz@whitecase.com
                                                                                                                                        1221 Avenue of the Americas                                      erin.smith@whitecase.com
Counsel to Ad Hoc Group of Freedom Lenders                                                 White & Case LLP                             New York NY 10020‐1095                                           brett.bakemeyer@whitecase.com   Email

                                                                                                                                        Attn: Thomas Lauria
                                                                                                                                        200 South Biscayne Boulevard, Suite 4900
Counsel to the Second Lien Secured Parties; HoldCo Lenders, Ad Hoc Group of Freedom Lenders White & Case LLP                            Miami FL 33131                                               tlauria@whitecase.com               First Class Mail and Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                                    Page 11 of 12
                                                                 Case 24-12480-LSS                     Doc 899                 Filed 02/03/25                  Page 15 of 15
                                                                                                                     Exhibit A
                                                                                                                Core/2002 Service List
                                                                                                               Served as set forth below

                                                   DESCRIPTION                             NAME                                                  ADDRESS                                                  EMAIL           METHOD OF SERVICE

                                                                                                                      Attn: Debra M. Sinclair, Matthew A. Feldman, Betsy L. Feldman,   dsinclair@willkie.com
                                                                                                                      Joseph R. Brandt                                                 mfeldman@willkie.com
                                                                                                                      787 Seventh Avenue                                               bfeldman@willkie.com
Counsel to Debtors and Debtors In Possession                            Willkie Farr & Gallagher LLP                  New York NY 10019                                                jbrandt@willkie.com        Email

                                                                                                                      Attn: Edmon L. Morton, Matthew B. Lunn, Allison S. Mielke,
                                                                                                                      Shella Borovinskaya                                              emorton@ycst.com
                                                                                                                      Rodney Square                                                    mlunn@ycst.com
                                                                                                                      1000 N. King Street                                              amielke@ycst.com
Counsel to Debtors and Debtors In Possession                            Young Conaway Stargatt & Taylor, LLP          Wilmington DE 19801                                              sborovinskaya@ycst.com     Email




            In re: Franchise Group, Inc., et al.
            Case No. 24‐12480 (JTD)                                                                                  Page 12 of 12
